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U N I T E D STATES . D I S T R I C T COURT



D I S T R I C T OF M A S S A C H U S E TT S



Civil action no.                  1 :23-CV-11120-JCB



C H A N N E L FISH               PROCESSING                      CO.     INC,     PLAINTIFF



AND



LA B A R R I Q U E P U B G O U R M A N D I N C .                                  DEFENDANT




                                                A F F I D A V I T Of ATTEMPTFO SERVICE




I , Michel         Di F i o r e ,      b a i l i f f for t h e p r o v i n c e of Q u e b e c , m a k e oath a n d say :



My     professional                 s e rv i c e s             were    retained        to    serve       the    Summons                in       a civil    action

a d d r e s s e d to La B a r r i q u e P u b G o u r m a n d I n c .



That on J u n e , 2 ° " ,            2023                 at   l Oh30        I tried    to   served           the   said   document                   upon           the

defendant              at     28,       chem i n                Cote     St-Louis           Quest,            suite   1 0 1    C i ty           of    Blainville,

P r o v i n c e of Q u e b e c .



I   learned          that        the      president                of    the     entreprise           Barrique        Pub      Gourmand                    Inc.        is

Gerard         Desbiens.               He       might            be    l i n k e d to G u e c h a r d      Enterprise         having              business in

suite      1 0 1 .



That       I was        unable            to      serve          the    said     document,            La      Barrique        Pub       Gourmand                     lnc.

nor     Ge   rard       Des      b i e n s can be f o u n d at                   t   his address.


i   received         co    operation                  f   rom t h e r e n t i n g o f fices at           hi   s address.


I   tried      t o    re   ach       la     Barrique              Pub      Gourmand            I   nc.   by     calling,      many               times,      Mark

Gar    nier        (866)         9 6   2.       5 2 3 3 ,        the     p   hone      number            on     the   plaintiff's                invoice.            N   o

response.


S i g n e d at t h e         c   i ty of S a i n t - S a u v e u r ,         Q   u e b e c , J u n e 2"\ 2 0 2 3




Michel         Di    Fiore,        h u l s s l e r de j u s t i c e



2 7 9 ,    rue P r i n c i p a l e ,        1   · ·   etaqe,       Saint-Sauveur             (Q    u e b e c ) J O R 1 RO      5   1   4    .   95   3 . 4 0 8   1



f r a n c o i s @ l e l;> J ii n c - t, j . � a
                              Case 1:23-cv-11120-JCB Document 5-2 Filed 06/20/23 Page 2 of 2


                                                                                                         PROCES-VERBAL DE l ' H U I S S I E R DE J U S T I C E

Canada           •    Province de Quebec
                                                                                                   Je    sousslqne,              Michel          Di    Fiore,         huissier       de J u s t i c e
District                      Massachusetts
                                                                                                   pour     la   province              de       Quebec,          ayant          mon    domicile
Cour

Numero
                                                                                                   professionnel                au   no.       2 7 9 , rue P r i n c i p a l e ,    l 0' etaqe     a
                              1 ;23-CV-11123-JCB
                                                                                                   Saint-Sauveur,                    certifie              sous             mon         serment
Dossier

                             Andre G .        Mathieu,
                                                                                                   professionnel                 que      le    2     juin    2023          a   1 Oh30     je   me
Client
                                                                                                   suis    r e n d u au 2 8 , c h e m i n de la Cote S t - L o u i s Q u e s t ,
                              h u i s s i e r de j u s t i c e
                                                                                                   bureau        101        a     Blainville          dans       le       but   d   signifier     la

                                                                                                   S U M M O N S I N A C I V I L ACTION




               Ch annel F i s h P r o c e s s i n g CO. i n c
                                                                                                   a La B a r r i q u e Pub G o u r m a n d I n c .

                                               . c -
                                                                                                   ce    que     je       n'ai    pu      faire       vu     que      le    destinatalre        est

                                                                                                   inconnu       a cette a d r e s s e .
                 la B a r r i q u e Pub G o u r m a n d I n c .
                                                                                                   I n f o r m a t i o n s p r i s e s au bureau de l o c a t i o n .

                                                                                                   Tels    8 6 6 . 9 6 2 . 5 2 3 3 et v e r i f i c a t i o n s l o c a l e s .



                                                                                                   La d i s t a n c e p a r c o u r u e est d e              l   5    k   ilometres.
                                           HONORAIRES


                                                                                                   Signe     aS      ai   nt-Sauveur,            le   29   mai       20    23




         Gestion T.h.p.                                                      19,00$

         Rapport                                                             l 5,00$

         Route                                                               25,80$

    -----.-----

         Sous-total                                                          5 9   ,80$

       TPS           1 1 1   326   aoz                                        2 , 9 9 $


       TVQ           101     ?65 2 3 8 7                                      S,97$

         Debours



                                                          �--�-�- .... ·-==

                        Total                                                68, 76$




           F r a n c o i s Le Blanc, h u i s s i e r s de j u s t i c e                            M    ichel   Di    Fi   ore,    h.].

                              2 79, m e Principate.         1    etage

                         Saint-Sauveur        I   Quebec        JOR   1 RO
                                                                                                   Reference     I    2306,037
 Telephone: 5 1 4             I   953 4081        •   Telecopieur : 4 5 0     I    227   1 1 2 3
